UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

IRA D. SOCOL,

Plaintiff

No. 3:18cv00090

ALBEMARLE COUNTY SCHOOL BOARD
and

MATTHEW S. HAAS, individually and as
Superintendent of Albemarle County Public
Schools,

Defendants.

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NOTICE OF SUBPOENA FOR DOCUMENTS
PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil
Procedure, a Subpoena has been issued this 26th day of December, 2019, to the following:

County of Albemarle
Purchasing Office

401 McIntire Road, Room 248
Charlottesville, VA 22902

The subpoena requires the production of documents described in the Subpoena Attachment, at
the offices of Wharton, Aldhizer & Weaver P.L.C. at 125 South Augusta Street, Suite 2000,
Staunton, Virginia 24401.

Dated: December 26, 2019 Respectfully submitted,

IRA D. SOCOL
By Counsel

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/s/ Lucas I. Pangle

Jeffrey R. Adams (VSB No. 43411)

Lucas I. Pangle (VSB No. 90963)

Wharton, Aldhizer & Weaver, PLC

125 S. Augusta Street

Staunton, Virginia 24401

Telephone: 540-885-0199

Facsimile: 540-213-0390

Email: jadams@wawlaw.com
lpangle@wawlaw.com

Counsel to Ira D. Socol

CERTIFICATE OF SERVICE

I hereby certify that on the 26th day of December, 2019, I electronically filed the

foregoing pleading with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to:

Jennifer D. Royer, Esq.
Royer Law Firm, P.C.

PO Box 4525

Roanoke, Virginia 24015
jroyer@royerlawfirm.com
Counsel for Defendants

19024384

/s/ Lucas I. Pangle

Jeffrey R. Adams (VSB No. 43411)

Lucas I. Pangle (VSB No. 90963)

Wharton, Aldhizer & Weaver, PLC

125 S. Augusta Street

Staunton, Virginia 24401

Telephone: 540-885-0199

Facsimile: 540-213-0390

Email: jadams(@wawlaw.com
lpangle@wawlaw.com

Counsel to Ira D. Socol

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT
for the
Western District of Virginia

lra D. Socol
Plaintiff

Vv. Civil Action No. 3:18cv00090

Albemarle County School Board and Matthew S. Haas
Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: County of Albemarle Purchasing Office

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment

Place: ywharton Aldhizer & Weaver, PLC | Date and Time:
125 S. Augusta Street, Suite 2000 .
Staunton, Virginia 24401 etidzi2020,250001 pia

0) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: [L (ur [19

CLERK OF COURT

Signature of Clerk or Deputy Clerk Attoriféy’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Ira D. Socol , who issues or requests this subpoena, are:

Lucas |. Pangle, Wharton Aldhizer & Weaver, PLC, 125 S. Augusta Street, Suite 2000, Staunton, Virginia 24401

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No, 3:18cv00090

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

0 I served the subpoena by delivering a copy to the named person as follows:

On (date) ; or

QI returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are §$ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:
Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc.:

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing clectronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Jnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notificd, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, sec Fed. R. Civ. P. 45(a) Committee Note (2013).

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SUBPOENA IN A CIVIL CASE - ATTACHMENT

Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Parts C & D and the
accompanying Subpoena in a Civil Case, it is requested that:

County of Albemarle
Purchasing Office

401 McIntire Road, Room 248
Charlottesville, VA 22902

Produce the following:

1. All documents, including but not limited to emails, correspondence, text messages, notes,
reports, records, and/or memoranda produced by you, sent to you, and/or in the possession of
you and/or any of your employees, officers or agents created or modified from July 21, 2017
to the date of this subpoena, related to:

a.
b.

Ira D. Socol,

the Albemarle County Public School Steering Committee (of which Mr. Socol was a
member),

any investigation regarding Mr. Socol, and/or

Mr. Socol’s compliance (or non-compliance) with procurement policies and
procedures.

2. All policies, manuals, or procedures, whether contained in emails, correspondence, text
messages, notes, reports, records, and/or memoranda, or any other medium, regarding
Albemarle County’s processes or protocols for investigating, adjudicating, correcting,
addressing, and/or resolving unauthorized or improper procurements or purchases.

3. Any documents reflecting the investigation, deliberation, or outcome of alleged violation of
the Albemarle County purchasing and/or procurement policies in the last five (5) years.

If you have any documents that are responsive to this subpoena that you are NOT
producing, please provide a list of all such documents along with the basis for your refusal

to produce such documents.

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